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                                                                                        17-18899 May 15, 2019 JPS:mms
                                                         Attorneys for Defendants, Allstate Property and Casualty Insurance
                                                               Company and Allstate Fire and Casualty Insurance Company




                            UNITED STATES DISTRICT COURT
                                      FOR THE
                             NORTHERN DISTRICT OF OHIO


 JANNIE BARTON                                   :       CASE NO. 3:18-cv-00255-JGC

         Plaintiff.                              :       Judge Jeffrey Helmick

         vs.                                     :

 ALLSTATE PROPERTY AND CASUALTY                  :
 INSURANCE COMPANY, et al.                               ORDER FOR JOINT STIPULATION
                                                 :       OF DISMISSAL WITH PREJUDICE
         Defendants.


        COMES now the Court, upon the parties Joint Stipulation of Dismissal with Prejudice, and

the Court being in all ways sufficiently advised, it is hereby ORDERED and ADJUDGED that the

parties’ Joint Stipulation of Dismissal with Prejudice is hereby GRANTED. This matter is hereby

DISMISSED, with prejudice.

        So ORDERED this ______________ day of __________________, 2019.




                                                      _____________________________________
                                                                        Judge Jeffrey Helmick

Clerk’s Distribution:

All Counsel of Record
